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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ABINGDON DIVISION


  ROBERT ADAIR, on behalf of himself                 )
  and all others similarly situated,                 )
                                                     )
                      Plaintiff,                     )
                                                     )
                                                     )
  v.                                                 )   Case No. 1:10-cv-00037
                                                     )
                                                     )
  EQT PRODUCTION COMPANY,                            )
                                                     )
                      Defendant.                     )
                                                     )
                                                     )
  JULIE A. KISER, on behalf of                       )
   herself and all others similarly situated,        )
                                                     )
                      Plaintiff,                     )
                                                     )
                                                     )
  v.                                                 )   Case No. 1:11-cv-00031
                                                     )
                                                     )
  EQT PRODUCTION COMPANY,                            )
                                                     )
                      Defendant.                     )

               MEMORANDUM IN SUPPORT OF DEFENDANT EQT PRODUCTION
                 COMPANY’S MOTION TO AMEND THE CLASS DEFINITIONS

                      Defendant EQT Production Company (“EQT”), by counsel, submits this

  memorandum in support of its motion to amend the class definitions.

                      I.     INTRODUCTION

                      The Court has certified a class in Adair including


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                      Each person, or their successors-in-interest, who has been
                      identified by EQT Production Company or its predecessors
                      (“EQT”) as the unleased owner of gas and lessor of gas estate
                      interests in a tract included in a force-pooled coalbed methane
                      gas (“CBM”) unit operated by EQT in Buchanan, Dickenson,
                      Lee, Russell, Scott, and/or Wise County, Virginia, and whose
                      ownership of the coalbed methane gas attributable to that tract
                      has been further identified by EQT as being in conflict with a
                      person or persons identified by EQT as owning coal estate
                      interests and not gas estate interests in the tract, according to
                      filings made by EQT with the Virginia Gas and Oil Board
                      (“the Board”) and/or according to orders entered by the Board
                      pursuant to EQT’s filings.

                      The Class excludes (a) EQT; (b) any person who serves as a
                      judge in this civil action and his or her spouse; (c) any gas
                      estate owner who has entered into a written agreement with a
                      purported coal estate owner settling alleged conflicting claims
                      of CBM ownership between them, provided, however, that
                      this exclusion does not extend to those interests or rights of
                      any such gas estate interest owner regarding lands, CBM
                      units, CBM royalties, and/or CBM proceeds that are not
                      expressly covered and settled by any such settlement
                      agreement; and (d) any gas estate owner who has received a
                      judicial determination of ownership regarding alleged
                      conflicting claims of CBM ownership, provided, however,
                      that this exclusion does not extend to those interests or rights
                      of any such gas estate interest owner regarding lands, CBM
                      units, CBM royalties, and/or CBM proceeds that are not
                      expressly covered and settled by any such judicial
                      determination.

  Adair Docket No. 472 at 2 of 3.

                      The class members in Kiser include:

                      Each person, or their successors-in-interest, who has been
                      identified by EQT Production Company or its predecessors
                      (“EQT”) as the owner of gas and lessor of gas estate interests
                      in a tract included in a coalbed methane gas (“CBM”) unit
                      operated by EQT in Buchanan, Dickenson, Lee, Russell,



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                      Scott, and/or Wise County, Virginia (and all other Virginia
                      counties in which EQT operates or has operated CBM wells
                      or units), and whose ownership of the CBM attributable to
                      that tract has been further identified by EQT as being in
                      conflict with a person or persons identified by EQT as
                      owning coal estate interests and not gas estate interests in the
                      tract, according to filings made by EQT with the Virginia Gas
                      and Oil Board (“the Board”) and/or according to orders
                      entered by the Board pursuant to EQT’s filings.

                      The Class excludes (a) EQT; (b) any person who serves as a
                      judge in this civil action and his or her spouse; (c) any gas
                      estate owner who has entered into a written agreement with a
                      purported coal estate owner settling alleged conflicting claims
                      of CBM ownership between them, provided, however, that
                      this exclusion does not extend to those interests or rights of
                      any such gas estate interest owner regarding lands, CBM
                      units, CBM royalties, and/or CBM proceeds that are not
                      expressly covered and settled by any such settlement
                      agreement; and (d) any gas estate owner who has received a
                      judicial determination of ownership regarding alleged
                      conflicting claims of CBM ownership, provided, however,
                      that this exclusion does not extend to those interests or rights
                      of any such gas estate interest owner regarding lands, CBM
                      units, CBM royalties, and/or CBM proceeds that are not
                      expressly covered and settled by any such judicial
                      determination.

  Kiser Docket No. 260 at 2 of 3.

                      In addition, there is a subclass in Kiser, which includes: “Each person who

  is a member of the Class defined hereinabove and whose lease is silent as to the

  deduction of costs.” Id. at 3 of 3.

                      II.    STANDARD OF REVIEW

                      The orders granting class certification may be amended at any time before

  final judgment. Fed. R. Civ. P. 23(c)(1)(C). As the Court has recognized, it “‘is duty



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  bound to monitor [the] class decision’” and to “amend its class certification’” where

  necessary. Adair Docket No. 442 at 82-83 of 85 (quoting Chisolm v. TranSouth Fin.

  Corp., 194 F.R.D. 538, 544 (E.D. Va. 2000)).

                      In considering EQT’s motion to amend the class definitions, the Court “has

  a duty to ensure that the class is properly constituted” and has “broad discretion” to grant

  the motion. E.g. Brooklyn Center for Independence of the Disabled v. Bloomberg, 290

  F.R.D. 409, 420 (S.D.N.Y. 2012) (quoting James Wm. Moore et al., Moore’s Federal

  Practice § 23.21[6]).

                      While EQT is the moving party, the burden remains on plaintiffs to

  demonstrate that class certification is proper. Marlo v. United Parcel Serv., Inc., 639

  F.3d 942, 947 (9th Cir. 2011); Chisolm, 194 F.R.D. at 544-45; Brooks v. GAF Material

  Corp., 284 F.R.D. 352, 360 (D.S.C. 2012). In filing this motion, EQT adheres to its

  position that classes should not have been certified.

                      III. ARGUMENT

                             A.   The Class Definitions Should Exclude Persons Who Are
                                  Parties to Pending Cases to Determine Ownership of the
                                  Gas Estate or Coalbed Methane Gas

                      Under the existing class definitions, there is an exception for gas owners

  who have already obtained a judicial determination of ownership, but not for gas owners

  who are parties to pending cases to determine ownership. Parties to pending cases should

  be excepted for two reasons:




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                      First, the plaintiffs are seeking summary judgment based on the schedules

  and notices of voluntary pooling prepared by EQT. However, the persons who have been

  listed as gas owners may not actually be gas owners in some situations. For example, the

  pooling orders for a tract in Buchanan County tract list “Yellow Poplar Lumber

  Company” or “Gallie Friend, Trustee for the Estate of Yellow Poplar Lumbar Company”

  as the claimant through the gas estate and Range Resources-Pine Mountain, Inc.

  (“Range”) as the claimant through the coal estate. Plum Creek Timberlands, L.P. has

  filed suit in this Court, alleging that it is the owner of the gas estate on the tract, not

  Yellow Poplar. Plum Creek Timberlands, L.P. v. Yellow Poplar Lumber Co., No.

  1:13cv00062. Range has filed a counterclaim also claiming ownership of the gas estate

  through a separate gas title. And a group of surface owners also claims the gas estate on a

  portion of the property.

                      Second, because the ownership claim has been certified under Rule

  23(b)(2), parties in pending suits cannot opt out of the class or rely upon their own deeds

  as allowed by the Gas and Oil Act. Instead, class members are bound by plaintiffs’ novel

  legal theory that ownership can be decided based entirely on the schedules and notices

  prepared by EQT. The parties to pending cases should have the right to have their cases

  decided on their own title papers.




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                            B.    The Class Definitions Should Exclude Persons Who
                                  Operate or Hold a Working Interest in a Gas Well in
                                  Virginia

                      Operators of gas wells and working interest owners of gas wells have an

  interest in avoiding the claims being made by the plaintiffs in these cases – that royalties

  have been underpaid. Consequently, operators and working interest owners should be

  excluded from the class. See, e.g., Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d

  1181, 1190 (11th Cir. 2003) (class certification is not proper where some class members

  derive a net economic benefit from the very same conduct alleged to be wrongful by the

  named representative) (citing Morris v. McCaddin, 553 F.2d 866, 870-71 (4th Cir.

  1977)); Phillips v. Klassen, 502 F.2d 362, 366 (D.C. Cir. 1974) (“Unless the relief

  sought by the [named plaintiffs] can be thought to be what would be desired by the other

  members of the class, it would be inequitable to recognize plaintiffs as representative,

  and a violation of due process….”)

                      EQT understands that plaintiffs agree that exceptions for operators of wells

  and working interest owners are appropriate. See Adair Docket No. 463 at 37 of 52.

                      IV. CONCLUSION

                      For these reasons, EQT’s motion to amend the class definitions should be

  granted.

                                                 EQT PRODUCTION COMPANY

                                                 By Counsel




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    Wade W. Massie


                                      CERTIFICATE OF SERVICE

                      I hereby certify that on November 5, 2013, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system which will

  send notification of such filing to counsel of record.


                                                         /s/ Wade W. Massie
                                                           Wade W. Massie




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